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1
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5
                           IN THE UNITED STATES DISTRICT COURT
6                             EASTERN DISTRICT OF CALIFORNIA
7
     UNITED STATES OF AMERICA,                             CASE NO. 2:14-CR-00043-KJM
8
                       Plaintiff,                          STIPULATION AND
9                                                          PROTECTIVE ORDER RE:
             v.                                            DISSEMINATION OF DISCOVERY
10                                                         DOCUMENTS CONTAINING
     JUDY RUTH MULLIN,                                     PERSONAL IDENTIFYING
11                                                         INFORMATION
                       Defendant.
12

13
          IT IS HEREBY STIPULATED AND AGREED by the parties that the documents provided
14
     as discovery in this case to defense counsel is subject to a Protective Order. Defendant is
15
     charged with conspiracy related to a tax refund fraud scheme.
16
          The parties agree that discovery in this case contains “Protected Information,” including but
17
     not limited to, victim and witness tax information and records, social security numbers, and dates
18
     of birth. The Protective Order extends to all documents provided, including those concerning
19
     conduct not directly charged in the Indictment.
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          By signing this Stipulation, defense counsel agrees that the Protected Information is
21
     entrusted to counsel only for the purposes of representing his client, the defendant, in this
22
     criminal case and for no other purpose. Further, defense counsel agrees not to share any
23
     documents that contain Protected Information with anyone other than his designated defense
24
     investigators, experts, and support staff. Defense counsel will have a duty to inform his defense
25
     investigators, experts, and support staff of this Order and provide them with a copy of it.
26
     Defense counsel may permit the defendant to review the Protected Information and be aware of
27
     its contents, but defendant shall not be given control of the Protected Information or provided
28

29      Stipulation and Proposed Protective Order      1
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 1 any copies of the Protected Information that have not been redacted of the Protected Information.

 2 Any person receiving Protected Information or a copy of the Protected Information from

 3 defendant’s counsel shall be bound by the same obligations as counsel and further may not give

 4 the Protected Information to anyone (except that the protected documents shall be returned to

 5 counsel).

 6        Counsel agrees to store Protected Information in a secure place and to use care to ensure

 7 that information is not disclosed to third parties in violation of this agreement. At the conclusion

 8 of the case, defense counsel agrees to destroy all copies of Protected Information or to return the

 9 Protected Information to the United States and certify that this has been accomplished.

10        Notwithstanding the foregoing, counsel, staff and/or the investigator for the defendant may

11 make copies of the Protected Information for trial preparation and presentation. Any copies

12 must, however, remain in the possession of counsel, investigator, staff, expert or the Court.

13        Nothing in this Stipulation and Protective Order prevents defense counsel or the defendant

14 from maintaining unredacted copies of records concerning the defendant’s own Protected

15 Information.

16        In the event that the defendant substitutes counsel, undersigned defense counsel agrees to

17 withhold these documents from new counsel unless and until substituted counsel agrees also to

18 be bound by this Order.

19 DATE: January 28, 2015                                BENJAMIN B. WAGNER
                                                         United States Attorney
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21                                                 By:    /s/ Sherry D. Hartel Haus
                                                         SHERRY D. HARTEL HAUS
22                                                       Assistant U.S. Attorney

23 DATE: January 28, 2015                                /s/ ANTHONY P. BROOKLIER
                                                         ANTHONY P. BROOKLIER
24                                                       Attorney for Defendant Judy Ruth Mullin

25        IT IS SO ORDERED:

26 Dated: January 28, 2015

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28

29     Stipulation and Proposed Protective Order              2
